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AQ 106A {08/1 8) Application for a Warrant by Telephone or Other Reliable Electronic Mcans _
UNITED STATES DISTRICT COURT
for the

Middle District of Pennsylvania
In the Matter of the Search of
Case No. 1:24- M (- 04/ 5

(Briefly describe the praperty to be searched
or ely ae the person be nae and address)

Black and Blue AT&T cellular phone (A} further
described in Attachment A

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APPLICATION FOR A WARRANT BY TELEPHGNE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (ideniijy the person or describe the
Property to be searched and give its location):

See Attachment "A"

located in the Middle  —_dDistrict of Pennsylvania » there is now concealed (identify the
person or describe the property to Ge seized):

See Attachment "6"

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
@ evidence of a crime;
& contraband, fruits of crime, or other items illegally possessed;
of property designed for use, intended for use, or used in committing a crime;
[ a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
Title 21 U.S.C. §841(a) Possession with intent to distribute a controlled substance.
Title 18 U.S.C. §922/g) Possession of a firearm by a prohibited person

Title 18 U.S.C. §924(c) Possession of a firearm in furtherance of a drug trafficking crime

The application is based on these facts:
|, Brittany Brenner, being first duly sworn, hereby depose and state as follows:

of Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: _ __.. 2 is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attgched sheet.

. Applicant's signature

Brittany Brenner / ATF TFO

Printed name and tite

Xho

Judge 's signaiure

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone (specify reliable electronic means).

Date: may VW 2024

Daryl F. Bloom, U.S. Magistrate Judge
Prinied name and title

City and state: Harrisburg, PA

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CONTINUATION PAGES OF AFFIDAVIT IN SUPPORT
OF SEARCH WARRANT

INTRODUCTION AND AGENT BACKGROUND

1. I ama Pennsylvania State Trooper and have been since
November 2007. I am currently assigned as a full-time Task Force Officer
with the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), and
have been since January 2021. ] am a graduate of Kutztown University
in Kutztown, PA with a Bachelor of Science degree in Criminal Justice. I
also attended Carlow University in Pittsburgh, PA and obtained a
Graduate Certificate in Cyber Threat Analytics. I am currently assigned
to the ATF Philadelphia Field Division, Harrisburg Field Office, which is
comprised of ATF Special Agents whose primary responsibilities include
investigating individuals or groups who have committed violations of the
federal firearms and narcotics laws.

2. After graduating from the Pennsylvania State Police (PSP)
Academy, I was assigned to the patrol unit at Troop J, Embreeville, in
Chester County. In 2010, I transferred to patrol at Troop J, Ephrata in
Lancaster County. From 2011 to 2012, I was assigned to the Criminal
Investigation unit at Troop J, Embreeville, in Chester County. In 2012, f

transferred to the Criminal Investigation unit at Troop J, Lancaster in

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Lancaster County. In June of 2014, I transferred to the Bureau of
Criminal Investigation (BCI), Organized Crime Unit Eastern Task Force.
Within BCI, my responsibilities included conducting investigations of
corrupt organizations relating to illegal narcotics, public corruption,
gambling, and organized crime activities throughout the Commonwealth
of Pennsylvania; in particular, central Pennsylvania. In my capacity as a
Pennsylvania State Trooper, I have investigated numerous violations of
the Pennsylvania Crimes Code. These crimes include homicide, robbery,
burglary, tampering with evidence, theft, narcotic violations, forgery,
sexual assaults, child abuse and corrupt organizations. I have prepared
and sworn to or filed numerous criminal complaints for violations of the
Pennsylvania Crimes Code. I have also sworn to and executed search
warrants in Pennsylvania. In addition, I have obtained telephone and
financial records for various criminal investigations. In _ these
investigations, I have utilized numerous investigative techniques
including, but not limited to, interviewing victims, witnesses and
suspects/defendants; execution of search warrants; use of informants;
undercover operations; physical surveillance: analyzing information

obtained from court-ordered pen registers and trap and trace intercepts,
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and analyzing telephone toll information; grand jury proceedings; and
the use of consensual interceptions of communications within the
parameters of the Pennsylvania Wiretapping and Electronic Surveillance
Control Act. I am an “investigative or law enforcement officer” within the
meaning of Section 5702 of the Pennsylvania Wiretapping and Electronic
Surveillance Control Act, and in such capacity, I have successfully
completed a course which is required for Class “A” certification pursuant
to 18 Pa.C.S. § 5724. My Class “A” certification number is A-4660.

38. The information set forth below is either known to me
personally or was related to me by other law enforcement personnel. This
affidavit is submitted in support of a search warrant for the stored
electronic information and communications on the cellular telephones
described in Attachment A.

4. Based on the facts set forth in this affidavit, there is probable
cause to believe that violations of Title 21, United States Code, Section
841, Possession of a Controlled Substance with the Intent to Deliver,
Title 18, United States Code, Section 922(g), Possession of a Firearm by
a Prohibited Person; Title 18, United States Code, Section 922),

Possession of a Stolen Firearm; and Title 18, United States Code, Section
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924(c) Possession of a Firearm in Furtherance of a Drug Trafficking
Crime have been committed by Michael Bret GOLDEN, last residing at
38 Hillside Estates, McConnellsburg, PA. There is also probable cause to
search the property described in Attachment A for evidence,
instrumentalities, or fruits of these crimes as further described in
Attachment B.

JURISDICTION

5. “At the request of a federal law enforcement officer or an
attorney for the government... a magistrate judge with authority in the
district ... has authority to issue a warrant to search for and seize a
person or property located within the district.” Fed. R. Crim. P. A1(b)(1).

INVESTIGATION BACKGROUND

6. OnJanuary 27, 2024, Trooper Joshua Hoffee of Pennsylvania
State Police Troop H, Chambersburg Patrol Unit, was in full uniform and
operating a marked patrol unit on State Route 16 in the village of
Zullinger near Skyhawk Drive, Washington Twp, Franklin County,
Middle District of PA. He observed a gray Honda Civic, PA registration
MHX0962 driving 41 MPH in a properly posted 35 MPH zone. Trooper

Hoffee performed an NCIC query of the vehicle’s registration which
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revealed the registered owner was the subject of a Franklin County
Bench Warrant as well as an arrest warrant out of Washington County
Maryland. An NCIC query of the wanted person was conducted and the
individual was identified as Michael Bret GOLDEN. A PennDOT
photograph was also obtained. Trooper Hoffee initiated a traffic stop on
SR 16 near Waynecastle Road.

7. Trooper Hoffee observed the driver making furtive
movements inside the driver compartment of the vehicle. Trooper Hoffee
approached the driver side of the vehicle and made contact with the
operator. Trooper Hoffee positively identified the operator as Michael
Bret GOLDEN.

8. GOLDEN was ordered to exit the vehicle and informed that
he had a warrant for his arrest. GOLDEN was removed from the vehicle
due his initial hesitation to comply. Trooper Hoffee observed a glass
smoking device in the lower door storage compartment in plain view and
within the wingspan of GOLDEN.

9. GOLDEN was taken into custody and a search incident to
arrest was conducted. GOLDEN was in possession of large orange-tinted

glassine style bag containing suspected Adderall pills. This bag was
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concealed on his person within a hooded sweatshirt pocket. GOLDEN
admitted to not having a prescription for the pills and identified them as

Adderall.

10. GOLDEN told Trooper Hoffee that he was coming from a
“storage unit” prior to the traffic stop. GOLDEN continued to display a
high level of nervousness and was evasive when asked questions about
whether any further items related to narcotics and firearms were present
within the vehicle. Trooper Hoffee observed GOLDEN’s inability to not
stop moving throughout the interaction. GOLDEN attempted to change
the subject multiple times, answered questions incorrectly, and displayed
dry mouth. GOLDEN further made unsolicited statements such as "I"m
never going home" indicating a consciousness of guilt. Prior to being
placed in the patrol vehicle, GOLDEN advised Trooper Hoffee that he
was in possession of "Tina" in his right front watch pocket, which Trooper
Hoffee removed. Trooper Hoffee knows that “Tina” is a slang term used
to identify crystal methamphetamine, based on his training and
experience.

11. The gray Honda Civic was towed from the scene to Troop H,

PSP Chambersburg, pending a search warrant.
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12. Trooper Hoffee obtained a search warrant for the vehicle.
Trooper(s) Rhine, Kaschak and Hull and executed the search warrant on
the gray Honda Civic and located several items relevant to this
investigation. Two firearms were recovered, specifically a Taurus PT845
.45 ACP pistol (serial number NHM78875) and a stolen Taurus G2S 9mm
pistol (serial number ABG668076) were located in two locked soft Allen-
brand pistol cases and were concealed within a large duffle bag full of
men's clothing and toiletry items. The duffle bag was on the rear
passenger seat directly behind where GOLDEN was seated within the
vehicle. The duffle bag also contained multiple cell phones, including the
target cell phone listed in Attachment A, and the false "Yeti" brand can
that concealed multiple 32 gb SD cards, a Micro SD card reader, and a
USB Flash Drive. The bulk suspected methamphetamine was located in
a black carry bag that was in the middle of the rear passenger seat
directly next to the duffle bag. A "ledger" containing names and phone
numbers and a small digital scale were also seized from the small black
carry bag. Also, a locked false dictionary safe containing suspected bulk
methamphetamine, bulk glassine bag packaging material, a clear

glassine bag with a pill capsule containing a white powdery unknown
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substance, and a SIM card for a cellular device were found in the small
black carry bag. In a tan carry bag in the trunk was a fully loaded Hi-
Point CF380 .380 pistol (serial number P8073925).

18. All Items were entered into evidence at Troop H, PSP

Chambersburg.

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14. GOLDEN’s criminal history includes the following

convictions:

a.

On April 12, 2022, GOLDEN pleaded guilty to Terroristic
Threats With Intent to Terrorize Another, in violation of
18 Pa. Stat. § 2706(a)(1) and was sentenced to 6 months’
to 23 months imprisonment. See, CP-28-CR-000066-2021;
On April 14, 2022, GOLDEN pleaded guilty to
manufacture, delivery, or possession with intent to

manufacture or deliver, a controlled substance, in

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violation of 35 Pa. Stat. § 780-113(a)(30) and was
sentenced to 6 months to 23 months imprisonment.
See, CP-28-CR-0000445-2022;

15. Based upon my training and experience I know that persons
involved in drug trafficking often carry firearms to protect themselves,
their drugs, and their money.

16. I also know that they often use cellular phones to help
facilitate their illegal drug and firearm activity. For instance, they
commonly use them to store names and telephone numbers for their
customers, suppliers, and associates, and use them to communicate with
their customers, suppliers, and associates. I know that drug traffickers
often take, or cause to be taken, photographs of themselves, their
associates, their property (including firearms), and their product and
that these photographs are often maintained in electronic format on
cellular telephones. I also know that they commonly use applications to
transfer money as payment for the illegal drugs.

17. Also, based on my knowledge, training, and experience, I
know that electronic devices can store information for long periods of

time. To my knowledge and belief, the seven cell phones (two AT&T,

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Motorola, Nokia-Motorola, two Samsung, and one Verizon) described in
this affidavit have been stored in a secure location at Troop H, PSP
Chambersburg Barracks and are in substantially the same state as when
they were recovered.

18. Based on my training and experience, I am aware that the
contents of a cellular telephone can easily be transferred from phone to
phone when a new phone is purchased, meaning the purchase of a new
phone does not necessarily indicate the loss of any of the phone’s content.

19. Based on the facts of the case, I believe the seven phones may
contain historical information relating to the investigation, including
conversations between GOLDEN and customers, location information,
and evidence related to the crimes committed.

20. Based on the facts set forth herein, I request authority to
search Michael GOLDEN’s cellular phone, described in Attachment A,
for violations of Title 21, United States Code, Section 841, Possession of
a Controlled Substance with the Intent to Deliver, Title 18, United States
Code, Section 922(g), Possession of a Firearm by a Prohibited Person:

Title 18, United States Code, Section 922(j), Possession of a Stolen

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Firearm; and Title 18, United States Code, Section 924(c) Possession of a

Firearm in Furtherance of a Drug Trafficking Crime.

TECHNICAL TERMS

21. Based on my training and experience, I use the following

technical terms to convey the following meanings:

a.

Cellular telephone: A cellular telephone (or wireless
telephone or mobile telephone) is a handheld wireless
device used for voice and data communication through
radio signals. These telephones send signals through
networks of transmitter/receivers, enabling
communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone
usually contains a “call log,” which records the telephone
number, date, and time of calls made to and from the
phone. In addition to enabling voice communications,
wireless telephones offer a broad range of capabilities.
These capabilities include storing names and phone
numbers in electronic “address books;” sending, receiving,

and storing text messages and e-mail; taking, sending,

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receiving, and storing still photographs and moving video;
storing and playing back audio files; storing dates,
appointments, and other information on _ personal
calendars; and accessing and downloading information
from the Internet. Wireless telephones may also include
global positioning system (“GPS”) technology for
determining the location of the device.

b. GPS: A GPS navigation device uses the Global
Positioning System to display its current location. It often
contains records of the locations where it has been. Some
GPS navigation devices can give a user driving or walking
directions to another location. These devices can contain
records of the addresses or locations involved in such
navigation. The Global Positioning System (generally
abbreviated “GPS”) consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely
accurate clock. Each satellite repeatedly transmits by
radio a mathematical representation of the current time,

combined with a special sequence of numbers. These

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signals are sent by radio, using specifications that are
publicly available. A GPS antenna on Earth can receive
those signals. When a GPS antenna receives signals from
at least four satellites, a computer connected to that
antenna can mathematically calculate the antenna’s
latitude, longitude, and sometimes altitude with a high
level of precision.

c. IP Address: An Internet Protocol address (or simply “IP
address”) is a unique numeric address used by computers
on the Internet. An IP address is a series of four numbers,
each in the range 0-255, separated by periods (e.g.,
121.56.97.178). Every computer attached to the Internet
must be assigned an IP address so that Internet traffic
sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet
service providers control a range of IP addresses. Some
computers have static—that is, long-term—IP addresses,
while other computers have dynamic—that is, frequently

changed—TIP addresses.

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d. Internet: The Internet is a global network of computers
and other electronic devices that communicate with each
other. Due to the structure of the Internet, connections
between devices on the Internet often cross state and
international borders, even when the _ devices
communicating with each other are in the same state.

e. Digital camera: A digital camera is a camera that records
pictures as digital picture files, rather than by using
photographic film. Digital cameras use a variety of fixed
and removable storage media to store their recorded
images. Images can usually be retrieved by connecting
the camera to a computer or by connecting the removable
storage medium to a separate reader. Removable storage
media include various types of flash memory cards or
miniature hard drives. Most digital cameras also include
a screen for viewing the stored images. This storage
media can contain any digital data, including data

unrelated to photographs or videos.

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f. Portable media player: A portable media player (or “MP3
Player” or iPod) is a handheld digital storage device
designed primarily to store and play audio, video, or
photographic files. However, a portable media player can
also store other digital data. Some portable media players
can use removable storage media. Removable storage
media include various types of flash memory cards or
miniature hard drives. This removable storage media can
also store any digital data. Depending on the model, a
portable media player may have the ability to store very
large amounts of electronic data and may offer additional
features such as a calendar, contact list, clock, or games.

g. PDA: A personal digital assistant, or PDA, is a handheld
electronic device used for storing data (such as names,
addresses, appointments, or notes) and _ utilizing
computer programs. Some PDAs also function as wireless
communication devices and are used to access the
Internet and send and receive e-mail. PDAs usually

include a memory card or other removable storage media

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for storing data and a keyboard and/or touch screen for
entering data. Removable storage media include various
types of flash memory cards or miniature hard drives.
This removable storage media can store any digital data.
Most PDAs run computer software, giving them many
of the same capabilities as personal computers. For
example, PDA users can work with word- processing
documents, spreadsheets, and presentations. PDAs may
also include global positioning system (GPS) technology
for determining the location of the device.

22. Based on my training, experience, and research, I know that
the devices listed in Attachment A have capabilities that allow them to
serve as wireless telephones, digital cameras, portable media players,
GPS navigation devices, and/or PDAs. In my training and experience,
examining data stored on devices of these types can uncover, among other
things, evidence that reveals or suggests who possessed or used the
devices. Additionally, the telephones may contain call logs, address
books, text messages, emails, videos, photographs, or other stored data

relevant to this investigation.

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ELECTRONIC STORAGE AND FORENSIC ANALYSIS

23. Based on my knowledge, training, and experience, I know that
electronic devices can store information for long periods of time.
Similarly, things that have been viewed via the Internet are typically
stored for some period of time on the device. This information can
sometimes be recovered with forensics tools.

24. Forensic evidence. As further described in Attachment B, this
application seeks permission to locate not only electronically stored
information that might serve as direct evidence of the crimes described
on the warrant, but also forensic evidence that establishes how the
devices were used, the purpose of their use, who used them, and when.
There is probable cause to believe this forensic electronic evidence might
be on the devices because:

a. Dataon the storage medium can provide evidence of a file
that was once on the storage medium but has since been
deleted or edited, or of a deleted portion of a file (such as
a paragraph that has been deleted from a word processing

file).

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b. Forensic evidence on a device can also indicate who has
used or controlled the device. This “user attribution”
evidence is analogous to the search for “indicia of
occupancy’ while executing a search warrant at a
residence.

c. A person with appropriate familiarity with how an
electronic device works may, after examining this forensic
evidence in its proper context, be able to draw conclusions
about how electronic devices were used, the purpose of
their use, who used them, and when.

25. Nature of examination. Based on the foregoing, and
consistent with Rule 41(e)(2)(B), the warrant I am applying for would
permit the examination of the devices consistent with the warrant. The
examination may require authorities to employ techniques, including,
but not limited to computer-assisted scans of the entire medium, that
might expose many parts of the device to human inspection to determine

whether it is evidence described by the warrant.

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CONCLUSION

26, There is probable cause to believe that GOLDEN utilized the
seven cellular phones located in duffle bag also containing men’s clothing
and toiletry items, which was located on the rear passenger seat directly
behind GOLDEN, to traffic drugs.

27. There is probable cause to believe that GOLDEN’s phones
contain communications as well as evidence of his criminal behavior.

28. I respectfully submit that this affidavit supports probable
cause to believe that evidence of 18 U.S.C. § 922(g) (possessing a firearm
by prohibited person) and 21 U.S.C. § 841 (possession of a controlled
substance with the intent to deliver) 18 U.S.C. § 922G), Possession of a
Stolen Firearm and 18 U.S.C. §924(c) Possession of a Firearm in
Furtherance of a Drug Trafficking Crime will be found in the stored
electronic information and communications within GOLDEN’s cell phone

described in Attachment A.

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